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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



 UNITED STATES OF AMERICA,                                                 No. 3:21-cr-00099-SI

                                   Plaintiff,
                                                               DEFENDANT’S SENTENCING
        v.                                                              MEMORANDUM

 CARLOS ARON PALADINI,

                                 Defendant.

       Carlos Paladini will appear before this Court for sentencing on June 30, 2021. Pursuant to

a plea agreement with the government, Mr. Paladini pleaded guilty to a single-count information

charging him with money laundering. Mr. Paladini accepts the calculations in the final presentence

report as accurate. At the time of sentencing, the defense will urge the Court to impose a sentence

of 36 months, to be served concurrently with the sentence imposed in his supervised release

violation case (3:09-cr-00057-SI) in consideration of § 3553(a) factors.

       Respectfully submitted on June 23, 2021.

                                                /s/ Thomas E. Price
                                                Thomas E. Price, Attorney for Defendant



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